                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

In the Matter of                                            }
                                                            }
WILLIAM BARRIER ROBERTS,                                    }               Case No. 18-83442-CRJ11
                                                            }
           Debtor.                                          }               Chapter 11
                                                            }
                                                            }
WILLIAM BARRIER ROBERTS,                                    }
                                                            }
           Plaintiff/Counter-Defendant,                     }
                                                            }
v.                                                          }               AP No. 19-80017-CRJ
                                                            }
MELANIE HAMMER MURRAY,                                      }
                                                            }
          Defendant/Counter-Plaintiff,                      }
                                                            }
and BULLET & BARREL, LLC,                                   }
                                                            }
           Counter-Plaintiff.                               }


                                MOTION TO DISMISS COUNTERCLAIM

           Counter-Defendant, William Barrier Roberts (“Roberts”), pursuant to Rules 7012(a)

and (b), Federal Rules of Bankruptcy Procedure, and Rule 12(b)(6), Federal Rules of Civil

Procedure, hereby moves the Court for entry of an Order dismissing “Defendants’ Counterclaim”

[Bankr. Dkt. 39] (“Counterclaim”) for failure to state claims upon which relief can be granted.1

As grounds for this Motion, Roberts shows the Court as follows:

           1.       In Count I of the Counterclaim, Counter-Plaintiff Melanie Murray (“Murray”)

asserts a claim for damages against Roberts for his alleged failure to pay a portion of capital calls,

which she in her capacity as the sole Management Committee member of Bullet & Barrel, LLC


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    Roberts consents to entry of final orders and judgment by this Court.




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(“B&B”) made in October 2018. Counterclaim at 13, ¶¶ 70-74. Assuming arguendo (for this

motion only) both the appropriateness of the capital calls on which Murray bases such claim, and

the validity of the B&B Company          Agreement (“B&B Agreement”) (Exhibit “A” to the

Counterclaim) [Bankr. Dkt. 39-1], Murray has failed to satisfy the requirements of that agreement

for asserting such claim.

       2.      Section 2.2(c)(i) of the B&B Agreement sets out both the sole and exclusive remedy

for a claim against a Member who fails to make a capital contribution in response to a capital call

as follows:

               (c)      Failure to Contribute Capital. If a Non-Contributing Unitholder fails to
       make an additional Capital Contribution required by Section 2.2(b) within the ten (10) day
       period set forth there (the amount of the failed contribution shall be the “Default Amount”),
       the contributing Common Unitholder(s) (the “Contributing Unitholders”) shall have
       any one or more of the following remedies as their sole and exclusive remedies at law or
       in equity in connection with the applicable default, which remedies shall be elected by
       the majority of the Members that are also Contributing Unitholders (based on Percentage
       Interests); provided, however, that if such Members elect the remedy set forth in Section
       2.2(c)(ii), they may not elect the remedies set forth in Section 2.2(c)(i) in connection with
       the applicable default:
                        (i)     to advance to the Company on behalf of, and as a loan to the Non-
       Contributing Unitholder, an amount equal to the Default Amount to be evidenced by a
       promissory note in form satisfactory to the Contributing Unitholder(s), payable on demand
       and bearing interest at the rate of eight percent (8.0%) per annum (each such loan, a
       “Default Loan”). The Capital Account of the Non-Contributing Unitholder shall be
       credited with the amount of such Capital Contribution and such amount shall
       constitute a debt owed by the Non-Contributing Unitholder to the Contributing
       Unitholder(s). …

(B&B Agreement at 2, Section 2.2(c)(i) (emphasis added).

       3.      Murray contributed no capital for herself, much less for Roberts, in response to the

capital calls she made in October, 2018: “Since completing her initial Capital Contributions in

2017, Murray has provided approximately $1.1 million in net additional funding to keep B&B

afloat, all of which B&B has booked as debt repayable to Murray.” Counterclaim at 5, ¶ 29

(emphasis added). Accordingly, Murray was not a “Contributing Unitholder” in response to either



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capital call on which she predicates her claim for an alleged Default Loan to Roberts, which is the

basis of her claim in Count I of the Counterclaim. Accordingly, since Murray only loaned funds

directly to B&B and so “booked as debt repayable to Murray,” Roberts’ Capital Account was not

credited with a capital contribution for either capital call. Hence, the debt on which Murray asserts

such claim against Roberts was and remains a debt of B&B, not Roberts.2

         4.       Count II of the Counterclaim for alleged “wrongful disassociation” by Roberts also

is due to be dismissed, because it is predicated upon Roberts’ filing of his petition in bankruptcy.

See Counterclaim at 12, ¶¶ 65, 66. See id. at 3, ¶ 18.

         5.       In doing so, Murray (both for herself and B&B) seeks to impose liability for

damages on Roberts beyond “any other debt, obligation or liability of the Member to the Company

or the other Members.” Id. at 3, ¶ 18 quoting B&B Agreement Section 6.4(b), and ¶¶ 67 and 69.

This unquestionably would constitute a diminishment and impairment of Roberts’ economic

interest and rights in B&B, which are assets of his bankruptcy estate.

         6.       In a scholarly opinion, the Bankruptcy Court in Pearce v. Woodfield, 2019 Bankr.

LEXIS 1607, 2019 WL 2183039 (Bankr. Ore., May 16, 2019), held that a Debtor’s economic and

voting rights as an LLC member cannot be terminated or modified solely as a result of filing a

bankruptcy petition because provisions of an Operating (Company) Agreement and/or the LLC

statute providing for same are unenforceable in bankruptcy under Section 541(c)(1) of the

Bankruptcy Code. 2019 Bankr. LEXIS 1607 *9, *10. The Court should follow such persuasive

authority in dismissing Count II of the Complaint.




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  Indeed, Murray herself has defaulted on her obligation to contribute capital, rather than loaned funds, in response
to the capital calls she herself made, in breach of the B&B Agreement. She elected instead to saddle B&B with
substantial additional debt to her during her continuing, gross mismanagement of B&B.


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       7.      Count III of the Counterclaim for a declaratory judgment, to the limited extent that

it is not otherwise so vague as to provide insufficient notice as to the matters in dispute as to which

a declaration is sought, is no less viable than Counts I and II of the Counterclaim. It specifically

requests a declaratory judgment with respect to only Sections 2.2(a) and 10.10(b) of the B&B

Agreement, which provide respectively, as follows:

               2.2 (a) Permitted Capital Contributions. Unitholders may make additional
       capital Contributions only with the written consent or vote of the Management Committee,
       in which event the Company shall issue to any contributing Unitholder additional Units in
       an amount to be determined by the Management Committee.
                                                       ...

              10.10 (b) Issuance of Additional Units. In addition to the adjustments permitted
       by Section 2.2(a), the Company, upon consent or vote of the Management Committee,
       may increase the number of Units owned by an existing Member upon such terms and
       conditions as may be determined appropriate by the Management Committee.

B&B Agreement, Sections 2.2(a) and 10.10(b).

       8.      Since, as appears on the face of the Counterclaim itself, Murray contributed no

capital in response to the capital calls she made in October 2018, making loans to B&B instead,

she is in willful breach of the B&B Agreement, even as she now seeks to use these other provisions

of that agreement to dilute Roberts’ interest in B&B. See Counterclaim at 5, ¶ 29. Where the

existence of such a defense or avoidance appears “on the face of” the claim itself, as here, such

defense may be adjudicated on a Rule 12(b)(6) motion. Boyd v. Williams, 2016 U.S. Dist. LEXIS

10508, *15, 2016 WL 362404 (N.D. Ala., January 29, 2016), citing Davidson v. Maraj, 609 Fed.

Appx. 994, 997 (11th Cir. 2015). “When this occurs, the Complaint [or Counterclaim] has a built-

in defense, and is essentially self-defeating. Id., *16. Accordingly, the Court should dismiss this

claim brought by a Member who is in continuing, antecedent breach of her own capital contribution

obligation to B&B, as well as by B&B under her exclusive control, for a declaratory judgment not

only about issuing further membership units to herself for voluntarily contributing additional


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capital hereafter pursuant to Section 2.2(a) of the B&B Agreement, but also about issuing

additional membership units to herself otherwise pursuant to Section 10.10(b), in both instances

as she in her capacity as the sole member of the Management Committee may determine.

       WHEREFORE, for the foregoing reasons, Roberts respectfully requests that the Court

dismiss the Counterclaim in its entirety.

                                            Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2019, I electronically filed the foregoing with the
Court using the CM/ECF system, which will send the notice of the filing to Counter-Plaintiffs’
counsel of record as follows:

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